Case 4:04-cr-00106-ALM-AGD           Document 1425         Filed 08/18/09      Page 1 of 1 PageID #:
                                            1864
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §            CASE NO. 4:04CR106(18)
                                                  §
 KAY LETHA SMITH                                  §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this court having heretofore

 referred the request for revocation of Defendant’s supervised release to the United States Magistrate

 Judge for proper consideration. The court has received the report of the United States Magistrate

 Judge pursuant to its order.

        Defendant having waived allocution before this court as well as her right to object to the

 report of the Magistrate Judge, the court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct.     The court hereby adopts the findings and conclusions of the

 Magistrate Judge as the findings and conclusions of the court.

        It is therefore ORDERED that Defendant’s supervised release is hereby REVOKED. It is

 further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of twenty-two (22) months, with thirty-eight (38) months of supervised release

 to follow.

        IT IS SO ORDERED.

              .   SIGNED this the 17th day of August, 2009.




                                                            _______________________________
                                                            RICHARD A. SCHELL
                                                            UNITED STATES DISTRICT JUDGE
